Case 8:15-cv-02941-|\/|SS-AAS Document 37 Filed 03/23/18 Page 1 of 1 Page|D 749

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

GHASSAN SHAHIN and
JAROSLAVA SHAHIN,
Plaintiffs,

v. CASE NO.: 8:15-cv-02941-MSS-AAS

SYNCHRONY FINANCIAL,
ALLIED INTERSTATE, LLC, and
CAVALRY SPV I, LLC,
Defendants.
/

MEDIATOR'S NO'I`ICE OF SETTLEMEN'I`

Jarnes R. Betts, the undersigned mediator, advises this court that the parties' mediation
conference on March 22, 2018, attended by Christopher W. E. Boss, Esq., Mr. Ghassan Shahin,

Mrs. Jaroslava Shahin, Jonathan Marmo, Esq. and Marc Hui, Esq., resulted in a complete
settlement

Certificate of Service

l hereby certify that on March 23, 20]8, by using the CM/ECF system l electronically
filed a copy of this notice with the Clerk of the District Court and served true copies of this
notice upon the following:

Christopher W. E. Boss, Esq. Jonathan Marmo, Esq.
Fax: (727) 471-1206 Fax: (4]2) 288-3063

gte/ssc-

James R. Betts, Esq.

FBN 32?786

Mediation Cert. #10773R

710 S. Boulevard

Tampa, Florida 336()6-2903

(813) 254-3302

(813) 254-5322 fax
JBETTS@TAMPABAY.RR.COM

 

